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                           UNITED STATES DISTRICT COURT

                           MIDDLE DISTRICT OF LOUISIANA


PRESS ROBINSON, ET AL                                             CIVIL ACTION

VERSUS
                                                                  NO. 22-211-SDD-SDJ
KYLE ARDOIN, ET AL

                                  CONSOLIDATED WITH

EDWARD GALMON, SR., ET AL                                         CIVIL ACTION

VERSUS
                                                                  NO. 22-214-SDD-SDJ
KYLE ARDOIN, ET AL



       A video conference was held on August 31, 2023, for the purpose of scheduling pre-

hearing exchanges and filings ahead of the remedial hearing scheduled for October 3-5, 2023.

       PRESENT:       John Nelson Adcock
                      Jonathan Hurwitz
                      Victoria Wenger
                      Sara Rohani
                      Stuart C. Naifeh
                      Sarah E Brannon
                      Counsel for Plaintiffs, Press Robinson, Edgar Cage, Dorothy Nairne,
                      Edwin Rene Soule, Alice Washington, Clee Earnest Lowe, Davante
                      Lewis, Martha Davis, Ambrose Sims, National Association for the
                      Advancement of Colored People Louisiana State Conference, and Power
                      Coalition for Equity and Justice

                      Jacob Shelly
                      Counsel for Consolidated Plaintiffs, Edward Galmon, Sr., Ciara Hart,
                      Norris Henderson, and Tramelle Howard

                      John Carroll Walsh
                      Alyssa Riggins
                      John Conine, Jr.
                      Thomas A. Farr
                      Counsel for Defendant, Kyle Ardoin



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                           Michael W. Mengis
                           Efrem Mark Braden
                           Erika Prouty
                           Patrick T. Lewis
                           Counsel for Intervenor Defendant, Clay Schexnayder and
                           Patrick Page Cortez

                           Jeffrey Wale
                           Philip Gordon
                           Brennan Bowen
                           Carey T. Jones
                           Counsel for Intervenor Defendant, State of Louisiana- Attorney General
                           Jeff Landry

                           Stephen M. Irving
                           Counsel for Movant, Louisiana Legislative Black Caucus

                           Arthur Ray Thomas
                           Counsel for Movant, Vincent Pierre

         The parties discussed the proposed scheduling plans entered by the parties (R. Docs. 255

and 256).1 The Court heard argument from both sides regarding points of disagreement, including

the entrance of a new remedial plan by Plaintiffs, introduction of new expert witnesses,2 and timing

of disclosures and depositions. The Court and parties together constructed two alternate scheduling

plans, and the Court took the options and parties’ positions under advisement.

         Signed in Baton Rouge, Louisiana, on August 31, 2023.



                                                              
                                                       SCOTT D. JOHNSON
                                                       UNITED STATES MAGISTRATE JUDGE




1
 The parties were ordered to submit a joint proposal (R. Doc. 250), but instead they entered competing proposals.
2
 Briefly, Plaintiffs argue that the parties should be limited to experts retained for the original hearing in June 2022,
with limited updates to account for the intervening year; Defendants argue that new experts and expert topics should
be allowed.
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